Case 19-31483-ABA           Doc 120      Filed 09/09/20 Entered 09/09/20 09:46:05     Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)

  SALDUTTI LAW GROUP
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  Cherry Hill, NJ 08034
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                                                       Case No.:   19-31483-ABA
  In Re:
  EDWARD J. HOVATTER and                               Chapter:    11
  KIMBERLY MACALUSO HOVATTER,                          Hrg Date:
                                    Debtors.
                                                       Judge:      Hon. Andrew B. Altenburg, Jr.


                              NOTICE OF WITHDRAWAL OF CLAIM

         TO THE CLERK:

         Kindly withdraw Claim #2 filed by Jersey Shore Federal Credit Union, as Debtors have

 surrendered the vehicle in full satisfaction.


                                                      Respectfully submitted,
                                                      SALDUTTI LAW GROUP


                                                      /s/ Rebecca K. McDowell
                                                      REBECCA K. MCDOWELL, ESQ.
 Dated: September 9, 2020
